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                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

  MELISSA DOUGLAS

           Plaintiff,                                               Civil Action No.:

  v.
                                                                     5:21-cv-00195
  TRACTOR SUPPLY COMPANY

           Defendant.                                        JURY TRIAL DEMANDED

                                            COMPLAINT

        COMES NOW, Plaintiff Melissa Douglas, and brings this action pursuant to Title VII of

the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq., and the Americans with

Disabilities Act of 1990, 42 U.S.C. § 12101, et seq., as amended. Plaintiff alleges that Defendant

Tractor Supply Company subjected Plaintiff to discrimination based on sex, pregnancy, and

disability, including through its failure to provide a reasonable accommodation, respectfully

showing the Court as follows:

                                   JURISDICTION AND VENUE

                                                 1.

        This Court has original jurisdiction over the subject matter of this civil action pursuant to

28 U.S.C. §§ 1331 & 1343 and the enforcement provisions of Title VII of the Civil Rights Act of

1964 and the Americans with Disabilities Act.

                                                 2.

        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because Plaintiff was

employed, and the events underlying this action occurred in Macon, Bibb County, Georgia, which

is located within this judicial district.




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                                            PARTIES

                                                 3.

       Plaintiff Melissa Douglas (hereinafter, “Plaintiff” or “Douglas”) is a citizen of the United

States and a resident of Georgia. At all times relevant to this suit, Ms. Douglas was employed by

Defendant Tractor Supply Company

                                                 4.

       At all relevant times, Ms. Douglas was considered a covered, non-exempt employee under

Title VII of the Civil Rights Act and the Americans with Disabilities Act.

                                                 5.

       Defendant Tractor Supply Company (hereinafter, “Defendant”), is a foreign profit

corporation, incorporated under the laws of the State of Delaware, with its principal office located

at 5401 Virginia Way, Brentwood, Tennessee 37027. Defendant may be served with process upon

its registered agent, The Corporation Company (FL), located at 106 Colony Park Drive, Suite 800-

B, Cumming, Forsyth County, Georgia 30040-2794.

                                                 6.

       Defendant is engaged in interstate commerce, has an annual revenue in excess of

$500,000.00, and has employed in excess of 500 employees, working for at least 20 calendar weeks

in 2019 and in prior calendar years.

                                                 7.

       Defendant is a covered employer within the meaning of Title VII of the Civil Rights Act

and the Americans with Disabilities Act.




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                                   STATEMENT OF FACTS

                                                8.

        Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 7, as if the same were set forth herein.

                                                9.

        Ms. Douglas began her employment with Defendant in or about July 17, 2019.

                                                10.

        Ms. Douglas worked for Defendant as a DC Team Member, and specifically a Material

Handler, at Defendant’s Distribution Center located in Macon, Georgia. As a Material Handler,

Ms. Douglas was responsible for receiving instructions from a dispatcher, and then picking the

merchandise identified by the dispatcher from the warehouse shelves and setting them aside for

distribution.

                                                11.

        Indeed, Material Handlers are sometimes required to lift heavier items, and some items

require the use of a ladder in order to be retrieved from upper shelves. However, Material Handlers

are expected to operate certain equipment such as a lift truck to accomplish these tasks.

                                                12.

        It was also common for Material Handlers to work together in teams of two people.

                                                13.

        Ms. Douglas was qualified for her position, her performance was exemplary, she was never

subjected to any disciplinary actions, and Ms. Douglas prided herself in her professionalism and

work ethic.




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                                                14.

       On September 3, 2019, Ms. Douglas was working an overnight shift when she passed two

blood clots when she was working.

                                                15.

       Ms. Douglas’ pregnancy-related medication condition is a type of bleeding disorder that

specifically results in periods of uncontrollable bleeding, pain, aching, and cramping, decreased

stamina and fatigue, overall body weakness, and risk to the health and safety of the mother and

unborn child. Blood clotting associated with pregnancy is a physical impairment that substantially

limited major life activities such as walking, standing, lifting, bending, and working.

                                                16.

       Defendant was aware of Ms. Douglas’ medical emergency and her medical condition

because Defendant advised Ms. Douglas to leave work and report to the emergency room at a local

hospital at approximately 9:00 pm that evening.

                                                17.

       On the next morning, September 4, 2019, one of Defendant’s Human Resources

representative contacted Ms. Douglas by telephone and instructed Ms. Douglas to have her doctor

complete a “Fitness for Duty Certification.”

                                                18.

       On the same day that Ms. Douglas was released from the hospital, she had her medical

provider complete the Fitness for Duty Certification, stating that Ms. Douglas may return to work

on September 5, 2019.




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                                                  19.

       Indeed, the next day, September 5, 2019, Ms. Douglas returned to work with her doctor’s

note in hand, and Ms. Douglas immediately went to see HR Generalist Whitney Herman

(hereinafter, “HR Generalist Herman”).

                                                  20.

       Upon review of the Fitness for Duty Certification, HR Generalist Herman noticed that Ms.

Douglas’ doctor had requested that Ms. Douglas be provided with short breaks and that she not be

required to lift in excess of 25 pounds as a result of Ms. Douglas’ pregnancy related condition.

                                                  21.

       In response, HR Generalist told Ms. Douglas that she did not know whether Ms. Douglas’

doctor’s restrictions could be accommodated.

                                                  22.

       HR Generalist Herman also commented on the fact that the doctor said that Ms. Douglas

should not be required to stand for more than eight (8) total hours in one day, but that this was not

going to work because Ms. Douglas was assigned to a ten (10)-hour shift.

                                                  23.

       While Defendant’s job description indicates that there may be extended periods of

standing, there is nothing to suggest from the job description, or Ms. Douglas’ actual duties, that

her position requires a person to stand for the entire shift.

                                                  24.

       Moreover, Ms. Douglas’ physician recommended that Ms. Douglas be given one, fifteen

(15) minute break every two-and-a-half (2 ½) hours, which was only a slight modification from

Defendant’s policy that allowed employees to have the same break once every three (3) hours.




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                                               25.

       Finally, HR Generalist Herman stated, “just looking at this, we can’t accommodate this.”

                                               26.

       As a result, HR Generalist Herman gave Ms. Douglas three options: 1) resign; 2) “try

again,” which Ms. Douglas understood to mean to get a new doctor’s note with different

restrictions; or, 3) call The Hartford, Defendant’s third-party benefits coordinator to begin the

process of applying for medical leave and short-term disability benefits.

                                               27.

       In response, Ms. Douglas nearly pleaded for HR Generalist Herman to allow Ms. Douglas

to continue working, and she even made suggestions on how her current duties could be modified.

                                               28.

       HR Generalist assured Ms. Douglas that the three options she had been presented (i.e.,

resign, modify restrictions, or take a leave of absence with short-term disability benefits) were

consistent to what is offered to any pregnant employee.

                                               29.

       In response to this comment, Ms. Douglas stated, “Isn’t there anything you can do to

accommodate me?” And she suggested that Defendant allow her to sweep the warehouse floors,

something that she been asked to do previously in her position.

                                               30.

       HR Generalist responded that Defendant was not required to make a job for Ms. Douglas.

                                               31.

       Ms. Douglas went home, and she applied for short-term disability benefits the same day.




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                                                32.

       The next day, September 6, 2019, The Hartford provided notice to Ms. Douglas that her

request for short-term disability benefits was going to be denied. The reason for the denial was

that, for the same reason that Ms. Douglas was not eligible for leave under the Family and Medical

Leave Act, her short-term disability was denied because she had not met the minimum hours

worked or the minimum length of service.

                                                33.

       Upon Ms. Douglas’ receipt of The Hartford’s notice, she contacted Defendant and asked

to speak to a supervisor in Human Resources, and she ultimately spoke to Human Resources

Manager Rebecca Ashford (hereinafter, “HR Manager Ashford”).

                                                34.

       HR Manager Ashford told Ms. Douglas that Defendant could not work with Ms. Douglas’

restrictions and that they could simply not be accommodated.

                                                35.

       In response, Ms. Douglas confirmed that she was denied for short-term disability benefits,

and Ms. Douglas explicitly, and repeatedly stated that she was refusing to resign from her position.

                                                36.

       In response, HR Manager Ashford stated:

       At this point, what normally happens is, if you are denied from The Hartford and
       we cannot accommodate your restrictions, you will either have to resign and come
       back after you have your baby or the normal process will take its place, which
       means that you’ll “point out” and we’ll have to remove you from the schedule.




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                                                37.

        Once again, HR Manager Ashford explicitly stated that Defendant would not accommodate

Ms. Douglas’ restrictions, and she instructed Ms. Douglas not to return to work with the same

restrictions.

                                                38.

        Subsequently, Ms. Douglas received a Georgia Department of Labor Separation Notice,

indicating that Ms. Douglas was terminated due to “Job Abandonment” on September 13, 2019.

                                                39.

        At no point did Ms. Douglas abandon her job, and Defendant’s reason for the termination

is false.

                                                40.

        Within two weeks of Ms. Douglas’ termination, Defendant sought applications for the

position previously held by Ms. Douglas.

                                                41.

        Upon information and belief, Defendant filled the position with someone who was neither

pregnant, nor had any pregnancy-related medical conditions such as blood clotting.

                             Procedural/Administrative Background

                                                42.

        On or about October 4, 2019, Ms. Douglas submitted her Charge of Discrimination to the

Equal Employment Opportunity Commission (hereinafter, “EEOC”), alleging that she had been

subjected to discrimination based on sex, pregnancy, and disability in violation of Title VII of the

Civil Rights Act and the Americans with Disabilities Act, respectively. The EEOC assigned Ms.

Douglas the Charge Number 410-2019-08561.




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                                                43.

       Defendant had notice of Ms. Douglas’ Charge of Discrimination, participated in the

proceedings before the EEOC, and was presented by counsel during said proceedings.

                                                44.

       On March 17, 2021, the EEOC issued a Dismissal and Notice of Rights.

                                                45.

       Ms. Douglas has exhausted her administrative remedies and she is filing the instant action

within ninety days of her receipt of the EEOC’s Dismissal and Notice of Rights.

                                  COUNT I:
                        DISCRIMINATION BASED ON SEX
              IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT

                                                46.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 45, as if the same were set forth herein.

                                                47.

       Under Title VII of the Civil Rights Act, it is unlawful for an employer to discriminate

against any individual with respect to his or her compensation, terms, conditions, or privileges of

employment because of such person’s sex. 42 U.S.C. § 2000e-2(a).

                                                48.

       Plaintiff is considered in a protected class as her sex is female.

                                                49.

       As alleged herein, Plaintiff was qualified for the position that she held with Defendant, and

her performance was exemplary at all times.




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                                                 50.

        Beginning on September 5, 2019, Plaintiff was able to work, and she had obtained a

certification from her doctor reflecting the same.

                                                 51.

        However, as alleged herein, Defendant refused to allow Plaintiff to work simply because

Defendant learned that Plaintiff was pregnant.

                                                 52.

        Defendant apparently has a policy or practice whereby Defendant denies accommodations

for employees who become pregnant and requires said employees to either resign from their

position or take a medical leave of absence if they qualify for short-term disability benefits.

                                                 53.

        Defendant does not have a similar policy or practice for its male and/or non-pregnant

employees, and Defendant does not deny such employees’ requested accommodations or require

them to either resign from their position or take a medical leave of absence if they qualify for short-

term disability benefits.

                                                 54.

        Defendant denied Plaintiff’s repeated requests that she be permitted to return to work.

                                                 55.

        On September 13, 2019, Defendant terminated Plaintiff from her position for “Job

Abandonment.”

                                                 56.

        Defendant then held the position open, or reposted Plaintiff’s position, while it continued

to look for candidates to fill the position.




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                                                     57.

            Defendant will be unable to present any evidence of a legitimate nondiscriminatory motive

for refusing to allow Plaintiff to return to work upon receiving notice that Plaintiff was pregnant,

otherwise treating Plaintiff less favorably than her counterparts who not female and/or pregnant

and terminating Plaintiff because of her pregnancy.

                                                     58.

            Defendant’s stated reason for the termination – that Plaintiff abandoned her job – is entirely

without merit.

                                                     59.

            Plaintiff will prove that the Defendant’s stated reasons are pretextual and were indeed

motivated by Plaintiff’s sex.

                                                     60.

            Plaintiff has been injured by Defendant’s discrimination based on sex against her, and she

is entitled to all damages allowed under Title VII of the Civil Rights Act, including back pay

including fringe benefits, front pay, injunctive relief, compensatory and punitive damages in the

amount of $300,000.00, and attorney’s fees and costs of litigation, all in an amount to be proven

at trial.

                                     COUNT II:
                       DISCRIMINATION BASED ON PREGNANCY
                IN VIOLATION OF THE PREGNANCY DISCRIMINATION ACT

                                                     61.

            Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 45, as if the same were set forth herein.




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                                                62.

       The Pregnancy Discrimination Act (hereinafter, “PDA”) is an amendment to Title VII of

the Civil Rights Act of 1964. Discrimination on the basis of pregnancy, childbirth, or related

medical conditions constitutes unlawful sex discrimination under Title VII. Women affected by

pregnancy or related conditions must be treated in the same manner as other applicants or

employees who are similar in their ability or inability to work.

                                                63.

       The PDA provides that the prohibition against sex-based employment discrimination in §

703(a) of Title VII, 42 U.S.C. § 2000e-2(a), applies with equal force to discrimination on the basis

of “pregnancy, childbirth, or related medical conditions.” See 42 U.S.C. § 2000e(k). Further, the

PDA provides that “women affected by pregnancy, childbirth, or related medical conditions shall

be treated the same for all employment-related purposes ... as other persons not so affected but

similar in their ability or inability to work.” 42 U.S.C. § 2000e(k). The analysis required for a

pregnancy discrimination claim is the same type of analysis used in other Title VII sex

discrimination suits. Armstrong v. Flowers Hosp., Inc., 33 F.3d 1308, 1312-13 (11th Cir.1994).

                                                64.

       For the same reasons as those set forth in Count I, supra, Defendant treated Plaintiff

differently than other persons who are not pregnant, but similar in their ability to work.

                                                65.

       As a result, Defendant subjected Plaintiff to discrimination based on her pregnancy by

refusing to accommodate Plaintiff’s medical condition, refusing to allow her to work, and

ultimately terminating her employment, all in violation of the Pregnancy Discrimination Act.




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                                                     66.

            Plaintiff has been injured by Defendant’s discrimination based on pregnancy against her,

and she is entitled to all damages allowed under the Pregnancy Discrimination Act, including back

pay including fringe benefits, front pay, injunctive relief, compensatory and punitive damages in

the amount of $300,000.00, and attorney’s fees and costs of litigation, all in an amount to be proven

at trial.

                                       COUNT III:
                             DISCRIMINATION IN VIOLATION OF
                           THE AMERICANS WITH DISABILITIES ACT

                                                     67.

            Plaintiff herby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 45, as if the same were set forth herein.

                                                     68.

            The Americans with Disabilities Act prohibits covered entities from “discriminating

against a qualified individual on the basis of disability in regard to job application procedures, the

hiring, advancement, or discharge of employees, employee compensation, job training, and other

terms, conditions, and privileges of employment.” 42 U.S.C. § 12112(a).

                                                     69.

            Discrimination based on disability includes an employer’s termination of the employee due

to her disability. 42 U.S.C. § 12111.

                                                     70.

            As alleged herein, Plaintiff has a disability, a history of a disability, and was perceived by

Defendant as having a disability, that substantially limits a number of major life activities.




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                                                 71.

        Specifically, Plaintiff was pregnant and developed a bleeding disorder related to her

pregnancy substantially limited several major life activities for Plaintiff, including her ability to

walk, stand, lift heavy objects, bend, and work.

                                                 72.

        Plaintiff was perceived as having a disability by Defendant when Defendant became aware

of Plaintiff’s medical emergency on September 3, 2019, and sent Plaintiff to the emergency room,

and upon her return, when Plaintiff requested reasonable accommodations for her medical

condition and pregnancy.

                                                 73.

        Plaintiff was hired as and was performing the duties in her role of DC Team Member or

Material Handler, and she was otherwise qualified and able to perform the essential functions of

her job, with or without reasonable accommodation.

                                                 74.

        Defendant terminated Plaintiff in September 2019, and Plaintiff was replaced with an

employee who was not pregnant and who did not have a pregnancy-related disability. The

circumstances suggest that Plaintiff was terminated, not as a result of any supposed misconduct;

rather, due to her pregnancy, pregnancy-related disability, or requests for an accommodation for

said disability.

                                                 75.

        Plaintiff has been injured by Defendant’s discrimination due to her disability, and Plaintiff

is entitled to all damages allowed under the Americans with Disabilities Act, including

compensatory damages, reinstatement, backpay, injunctive relief, punitive damages, and




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reasonable attorneys’ fees and costs of litigation, in an amount to be proven at trial.

                                COUNT IV:
             FAILURE TO PROVIDE REASONABLE ACCOMMODATION
           IN VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

                                                 76.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 45, as if the same were set forth herein.

                                                 77.

       The Americans with Disabilities Act prohibits covered entities from “discriminating

against a qualified individual on the basis of disability in regard to job application procedures, the

hiring, advancement, or discharge of employees, employee compensation, job training, and other

terms, conditions, and privileges of employment.” 42 U.S.C. § 12112(a).

                                                 78.

       Discrimination based on disability includes an employer’s failure to make a “reasonable

accommodations to the known physical or mental limitations of an otherwise qualified individual

with a disability who is an applicant or employee, unless such covered entity can demonstrate that

the accommodation would impose an undue hardship on the operation of the business of such

covered entity.” 42 U.S.C. § 12112(b)(5)(A).

                                                 79.

       As alleged herein, Defendant and Plaintiff are a covered, nonexempt employer and non-

exempt employee under the ADA, respectively. See 42 U.S.C. § 12111.

                                                 80.

       As alleged herein, Plaintiff has a disability, a history of a disability, and was perceived by

Defendant as having a disability, that substantially limits a number of major life activities.




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                                                 81.

       Specifically, Plaintiff was pregnant and developed a bleeding disorder related to her

pregnancy substantially limited several major life activities for Plaintiff, including her ability to

walk, stand, lift heavy objects, bend, and work.

                                                 82.

       Plaintiff was perceived as having a disability by Defendant when Defendant became aware

of Plaintiff’s medical emergency on September 3, 2019 and sent Plaintiff to the emergency room,

and upon her return, when Plaintiff requested reasonable accommodations for her medical

condition and pregnancy.

                                                 83.

       Plaintiff was hired as and was performing the duties in her role of DC Team Member or

Material Handler, and she was otherwise qualified and able to perform the essential functions of

her job, with or without reasonable accommodation.

                                                 84.

       Plaintiff requested an accommodation for her disability on several occasions. Specifically,

Plaintiff requested that she avoid lifting objects in excess of 25 pounds, and limit lifting, pushing,

pulling, climbing ladders, standing, and that she be provided more frequent breaks.

                                                 85.

       The accommodation requested was available, would have been effective, and would not

have posed an undue hardship on Defendant. Moreover, the requested accommodation of allowing

light duty work for Plaintiff would have allowed Plaintiff to meet Defendant’s performance and

productivity metrics and all other essential job functions.




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                                                    86.

            Defendant expressly refused to provide the accommodation.

                                                    87.

            Defendant expressly refused to consider any alternatives to the reasonable accommodation

requested by Plaintiff.

                                                    88.

            Plaintiff was told by Defendant that, unless her doctor modified Plaintiff’s restrictions or

she was otherwise entitled to medical leave through Defendant’s short-term disability benefit, her

only other option was to resign from her position.

                                                    89.

            Defendant refusal to provide a reasonable accommodation or engage in the interactive

process, which meant that Defendant would not allow Plaintiff to return to work, which Defendant

then cited as the basis for Plaintiff’s termination.

                                                    90.

            Plaintiff has been injured by Defendant’s discrimination due to its failure to provide a

reasonable accommodation, and Plaintiff is entitled to all damages allowed under the Americans

with Disabilities Act, including compensatory damages, reinstatement, backpay, injunctive relief,

punitive damages, and reasonable attorney’s fees and costs of litigation, in an amount to be proven

at trial.

                                            JURY DEMAND

            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Melissa Douglas respectfully prays for the following relief:

       1)      That Summons and Process be issued to Defendant Tractor Supply Company, and

that said Defendant be served as provided by law;

       2)      That this matter be tried before a jury;

       3)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count I for discrimination based on sex, and grant Plaintiff all relief allowable under Title VII of

the Civil Rights Act;

       4)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count II for discrimination based on pregnancy, and grant Plaintiff all relief allowable under the

Pregnancy Discrimination Act;

       5)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count III for discrimination based on disability in violation of the Americans with Disabilities Act

and grant Plaintiff all relief allowable under said statute;

       6)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count IV for failure to provide a reasonable accommodation, and grant Plaintiff all relief allowable

under Americans with Disabilities Act;

       7)      For such other relief as this Court shall deem just and proper.

       Respectfully submitted, this 15th day of June, 2021.


                                                        __________________________
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